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                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                         PENDLETON DIVISION


RYAN PAYNE, et al.,
                                                                              No. 2:18-cv-165-MO
                  Plaintiffs,
                                                                      ORDER TO SHOW CAUSE
       V.


W. JOSEPH ASTARITA, et al.,

                 Defendants.

MOSMAN,J.,

       Plaintiffs Ryan Payne and Victoria Sharp filed a corrected Complaint on October 26,

2018, which named the following defendants: W. Joseph Astarita, Mark McConnell, Greg T.

Bretzing, Kate Brown, Dave Ward, Lucas McClain, Brian Neidham, and Steve Grasty

(collectively Defendants). 1 [56]. Under Federal Rule of Civil Procedure Rule 4(m), Plaintiffs

had ninety days after the filing of their corrected Complaint to serve Defendants. I reiterated the

deadline for service in a December 12, 2019, Order, stating in relevant part that "under Rule 4,

Plaintiffs are allowed ninety days from the filing of the corrected Complaint-until January 24,

2019-to serve the corrected Complaint." [60]. I also ordered Plaintiffs to file proof of service

on each Defendant within five days after service of process. [58, 60].




       1
           The corrected Complaint also lists multiple "Doe" defendants.
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        Plaintiffs neither served their corrected Complaint on any Defendants within the ninety-

day period for service nor sought an extension of time for service. On January 31, 2019, I

directed Plaintiffs to show cause why I should not dismiss this action without prejudice for

failure to serve and/or why they had good cause for their failure to serve Defendants. [69].

Plaintiffs timely responded to the Order to Show Cause. [71-73]. I found Plaintiffs failed to

show good cause for their failure to serve their corrected Complaint within the ninety-day time

period. [76].

        Instead of dismissing this action without prejudice, however, I granted Plaintiffs an

additional thirty days to serve Defendants. Id. I ordered Plaintiffs to file proofs of summons or a

notification that a Defendant had waived summons within five days of service or waiver. Id. I

further ordered Plaintiffs to file a status report detailing the status of service on each named

Defendant at the end of the thirty-day extension. Id. I cautioned Plaintiffs that failure to serve

the corrected Complaint in the extended time might result in dismissal of this action without

prejudice. Id.

       The docket reflects that, during the thirty-day extension period, Plaintiffs filed executed

returns of service for two of the named Defendants: (1) W. Joseph Astarita [82]; and (2) Greg T.

Bretzing [83]. 2 Plaintiffs did not file proof of service of summons on any other named

Defendant or a notification that any named Defendant waived service. Additionally, Plaintiffs

did not file a status report detailing the status of service on each named Defendant at the end of

the thirty-day period.




       2   I draw no conclusions about the adequacy of service on either of these Defendants.
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       I order Plaintiffs to show cause in writing by Monday, April 8, 2019, why I should not

dismiss this action without prejudice as to Mark McConnell, Kate Brown, Dave Ward, Lucas

McClain, Brian Neidham, and Steve Grasty.


       IT IS SO ORDERED.

      DATED this?/ day of April 2019.




                                                           MICHAEL I
                                                           Chief United States District Judge




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